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Case 2:24-cv-00103-LGW-BWC Document 1-4 Filed 09/03/24 Page1of1

IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA
BRUNSWICK DIVISION

STATE OF MISSOURI,

STATE OF GEORGIA,

STATE OF ALABAMA,

STATE OF ARKANSAS,

STATE OF FLORIDA,

STATE OF NORTH DAKOTA, and
STATE OF OHIO,

Plaintiffs Civil Action No:

Vv.

UNITED STATES DEPARTMENT
OF EDUCATION,

MIGUEL A. CARDONA, in his official
capacity as Secretary, United States
Department of Education, and

JOSEPH R. BIDEN, Jr., in his official
capacity as President of the United States,

* © & & He & & RH HE He RH KK RH FE HE KK HK KF HK HK HE HK KH

Defendants

EXHIBIT "D"

TO COMPLAINT
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Business Operations Change Request Form
As Of: 5/31/2024 12:39:46PM

Administrative Information

CR: 7037 Drafted: 4/25/2024 11:20:08AM Submitted: 5/6/2024 3:02:29PM

Title: SDR—USDS Student Debt Relief Discharge Processing-Revised
Sponsor: Brenda Cox Business Analyst: Denise Merchant

Anticipated Implementation Date: 09/01/2024

Change Request Details

Reason (Business Need):

FSA is in the process of implementing additional types of loan forgiveness for borrowers. Multiple additional types of
forgiveness are being implemented with the requirements listed below — those types are Measure 1 (Current Balance
Exceeds Original Principal Balance Forgiveness), Measure 2 (Forgiveness after 20 or 25 Years), and Measure 3 (Eligible
Not Applied). Going forward they will be referred to by Measure 1, Measure 2, or Measure 3. The application of each
Measure is exclusive to a single loan for example, a single loan cannot receive Measure 3 and 1 forgiveness. Measure 1 will
be provided in a new file as described within the requirements. Measures 2 and 3 may be included in the same direct to
discharge file.

Description (Requirements):
See Attached for Requirements

NON-DISCLOSURE STATEMENT AND RULES OF CONDUCT All staff representatives of each impacted system /
organization are reminded of the rules of conduct and terms and conditions as outlined in Non-Disclosure Agreements when
being granted access to certain United States Government documents or material containing sensitive but unclassified
information, including proprietary data, interpretations and/or derivatives of such data provided by the Federal Student Aid
{FSA) Contracting Office and/or entities other than the contracting parties.

This change request includes nonpublic and confidential information provided through the Federal Student Aid Contracting
Office. Staff representatives are being granted access to this information only as a courtesy by FSA for the purposes of
awareness and proposal submission for the timely implementation of the change request. The topic of this change request
and the content within shall not be shared outside the Department. The definition of nonpublic information can be found
within 5 C.F.R. § 2635.703

Does this change require a new network connection
(Secure File Transfer Protocol is mandatory for all new connections)? No

IST Anticipated? Yes 08/08/2024

FSA Service/System/Area Impacted

Communications - Notification Only

Enterprise Risk Management - Notification

Enterprise Security - Notification Only

Policy, /mplement&Oversight (PIO)-Notifica.

Vendor Oversight — Notification Only

USDS - CRI

USDS - MOHELA

USDS — Max Ed/AidVntge dal eine
USDS —- EdFinancial

USDS — Nelnet

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Validation - Artifacts and Corresponding Requirement IDs (Required for Services)
Full UAT documentation (Test Plan, Test Cases, Results) - Due one week prior to UAT.
Sample Operational Report - Due 8/19/24
Borrower Notification - Due 8/19/24
Compliance Statement - Due 9/16/24

Artifacts Due Date: 09/16/2024 BU Reviewer: Christy Jenkins

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Implementation Date: 9/1/2024

CR 7037 — Servicer Student Debt Relief (SDR) - DRAFT

FSA is in the process of implementing additional types of loan forgiveness for borrowers. Multiple
additional types of forgiveness are being implemented with the requirements listed below — those
types are Measure 1 (Current Balance Exceeds Original Principal Balance Forgiveness), Measure 2
(Forgiveness after 20 or 25 Years), and Measure 3 (Eligible Not Applied). Going forward they will be
referred to by Measure 1, Measure 2, or Measure 3. The application of each Measure is exclusive to
a single loan for example, a single loan cannot receive Measure 3 and 1 forgiveness. Measure 1 will
be provided in a new file as described within the requirements. Measures 2 and 3 may be included in
the same direct to discharge file.

The servicer shall provide a breakout level of effort (ROM) and cost for each requirement listed below.
43000 [ADDED] Student Debt Relief Forgiveness

¢ 43000.000: The servicer shall support the implementation of Measure 1 — Current
Balance Exceeds Original Principal Balance Forgiveness.
o 43000.010: The servicers shall submit to NSLDS the 9/1/2024 principal and interest
balance of every loan on their system.
* 43000.011: Servicers shall submit the balances only for loans with total balance
of >$0.00.
* 43000.012: Servicers shall include the submission within a unique NSLDS
reporting batch.
« 43000.013: Servicers shall report the balance of the loans using the NSLDS AQ
record with a date of outstanding balance = 20240901
« 43000.014: Servicers shall report the balances/send the batch file no earlier
than 9/2/2024 but no later than 9/5/2024.
* 43000.015: Servicer shall resolve all errors or discrepancies identified by
NSLDS or FSA by 9/6/2024. No cost can be associated with this requirement.
Servicers are required to report timely and accurately,
« 43000.016: All Servicers (including DMCS) shall include FFEL Fresh Start and
FFEL Special Mandatory Assignment loans (SMAG and FSPG) with total
balances of >$0.00 in loan batch files to NSLDS.
© 43000.020: The servicer shall accept a new Measure 1 forgiveness request file from
NSLDS that contains at a minimum the data elements defined below:
« 43000.021: For all loans:
1. Borrower SSN
Borrower Last Name
Borrower First Name
Borrower Date of Birth
Award ID
Maximum Eligibility Amount
Amount of Forgiveness calculated by NSLDS to be applied to the loan
000. 022: For non-Consolidation loans:
Loan Type
Loan Date
OPEID
Loan Amount
Statutory Interest Rate
Actual Interest Rate
Loan Status on Sept 1, 2024
Loan Status Date on Sept 1, 2024
OPEB on Sept 1, 2024
10. OPB Date
11. OIB on Sept 1, 2024
12. OIB Date
13. Most Recent Disbursement Date
a. Only populated if loan first disbursed before January 1, 2005 or if the Total
Disbursed is used to drive the amount of eligibility.

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14, Total Disbursement Amount
a. Only populated if loan first disbursed before January 1, 2005 or if the Total
Disbursed is used to drive the amount of eligibility.
15, Date Entered Repayment
a. Only populated if loan first disbursed on or after January 1, 2005
16. OPB at the time that the loan entered repayment
a. Only populated if loan first disbursed on or after January 1, 2005
17. Date of OPB at the time that the loan entered repayment
a. Only populated if loan first disbursed on or after January 1, 2005
18. Accrued Interest at the time the loan entered repayment
a. Only populated if loan first disbursed on or after January 1, 2005
19. Date of Accrued Interest at the time that the loan entered repayment
a. Only populated if loan first disbursed on or after January 1, 2005
* 43000.023: For Consolidation loans:
1. Consolidation Loan Type
2. Consolidation Loan Date
3. Consolidation Loan Amount
4. Consolidation OPEID
5. Consolidation Statutory Interest Rate
6. Consolidation Actual Interest Rate
7. Consolidation Loan Status on Sept 1, 2024
8. Consolidation Loan Status Date on Sept 1, 2024
9. Consolidation OPB on Sept 1, 2024
10. OPB Date
11. Consolidation OIB on Sept 1, 2024
12. OIB Date
13. Sum of Underlying Loan Principal Balance at the time of repayment or Total
Disbursed or Loan Amount, as applicable
14, Sum of Underlying Loan Accrued Interest at the time of repayment or Total
Disbursed or Loan Amount, if applicable
© 43000.030: The servicer shall accept the new Measure 1 file via SAIG.

« 43000.031: FSA will provide the updated message class prior to IST.

o 43000.040: Servicers should anticipate receiving three (3) or more Measure 1
forgiveness files.

o 43000.050: The servicer shall apply loan forgiveness to loans included in the Measure 1
file.

* 43000.051: The servicer shall not apply forgiveness until the end of the opt-out
period described in requirement 43006.000 and directed by FSA.

* 43000.052: All forgiveness shall be applied with an effective date of 9/1/2024.

* 43000.053: Servicers shall apply the amount found in the “Amount of
Forgiveness calculated by NSLDS to be applied to the loan” element of the
Measure 1 forgiveness file to the associated loan.

* 43000.054: The amount of forgiveness shall be first applied to outstanding
interest.

* 43000.055: If the amount of forgiveness is greater than the amount of
outstanding interest, the forgiveness amount remaining after forgiving interest
(difference between the Amount of Forgiveness minus the reduction applied to
Accrued Interest) shall be applied to principal.

* 43000.056: All servicing activity (payments, etc.) that occurred on/after
9/1/2024 shall be reapplied after the forgiveness has been applied.

* 43000.057: Servicers shall complete all Measure 1 forgiveness processing, to
include sending borrower notifications, within 10 business days following the
opt-out period or servicer receipt of the production file, whichever is later.

* 43000.058: The servicer shall begin processing the Measure 1 forgiveness file
immediately upon receipt and approval from FSA to begin the discharge. FSA
will provide 5 calendar day notice prior to file receipt.

o 43000.060: The servicer shall notify each Measure 1 borrower once forgiveness has
been applied.
* 43000.061: The notice to borrowers will be dynamic and include borrower
specific elements such as borrower identifiersfoan identifiers, forgiveness
amounts and remaining balances.

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» 43000.062: Servicers will be provided the FSA-approved Measure 1
forgiveness notice language/format no later than 20 calendar days prior to the
servicers’ receipt of the forgiveness file.

o 43000.070: The servicer shall redisclose borrowers not on an IDR plan in a manner that
impacts the next billing cycle after the discharge is applied. For borrowers on an IDR
plan, the servicer shall adjust the payment with the next recertification.

o 43000.080: The servicers shall provide Measure 1 forgiveness response information to

NSLDS weekly as part of NSLDS reporting.

» 43000.081: The servicer shall provide the response file via SAIG.
* 43000.082: The response file will include (at a minimum):
1. Borrower SSN
. Borrower Last Name
Borrower First Name
Borrower Date of Birth
Award ID
Forgiveness Measure Indicator
Forgiveness Effective Date
Total Forgiveness Applied to the Loan Balance
Total Forgiveness Applied to Loan OPB
10. Total Forgiveness Applied to Loan OIB
11.Loan Not Processed Indicator
12,Loan Not Processed Reason
Loan Transferred to another servicer
Loan consolidated at same servicer
Loan consolidated to another servicer
Loan paid in full, discharged, or forgiven
Loan is in TPD monitoring
Loan Not Found
Borrower Opt Out
Borrower Applied for Consolidation Loan
i, Loan pending discharge or forgiveness

* 43000.083: The new Forgiveness Measure Indicators will be:

1. M1D4 for the forgiveness Measure 1: Current Balance Exceeds Original

Principal Balance - $20,000.

2. M22 for the forgiveness Measure 1: Current Balance Exceeds Original
Principal Balance - Unlimited.
M4D3 as the forgiveness Measure 2: Forgiveness after 20 Years.
MS$54 as the forgiveness Measure 2: Forgiveness after 25 Years.
M36 as the forgiveness Measure 3: Eligible for SAVE Forgiveness, Not
Applied.

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* 43001.000: The servicer shall support the implementation of Measure 2 — Forgiveness
after 20 or 25 Years.
o 43001.010: The servicer shall receive an updated D2D file that will include additional
indicators to distinguish additional forgiveness types to include Measure 2 and Measure
3 forgiveness.
= 43001.011: The five new forgiveness codes shall be:
1. M14 for the forgiveness Measure 1: Current Balance Exceeds Original
Principal Balance - $20,000.
2. M262 for the forgiveness Measure 1: Current Balance Exceeds Original
Principal Balance - Unlimited.
3. M4B3 as the forgiveness Measure 2: Forgiveness after 20 Years.
4, M5D4 as the forgiveness Measure 2: Forgiveness after 25 Years.
5. M36 as the forgiveness Measure 3: Eligible for SAVE Forgiveness, Not
Applied.
o 43001.020: A single D2D file may include multiple forgiveness types in the same file.
For example, a file may include M4B3 and MSD4.
o 43001.030: The servicers shall apply requested forgiveness to loans for Measure 2
forgiveness.

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= 43001.031: If the servicer receives a consolidation pay-off request for a loan
received in the D2D file for Measure 2 before the file is received, the servicer
should not apply the forgiveness, but instead report to NSLDS that the loan is in
process of being consolidated.

= 43001.032: No forgiveness shall be applied until the opt-out period has ended.

= 43001.033: The forgiveness effective date will be provided in the D2D request
file.

= 43001.034: Servicers shall initiate refunds of borrower payments received
following the Effective Date of the Loan Forgiveness. Reallocation of payments
will not be required for Measure 2.

Note: If the forgiveness date predates July 1, 2024, then June 30, 2024, will be
used as the forgiveness date, so refunds of payments prior to June 30, 2024,
will not be required.

* 43001.035: Servicers shall complete all Measure 2 forgiveness processing within
10 business days following the opt-out period.

* 43001.036: Servicers should anticipate receiving three or more (3) Measure 2
forgiveness files.

* 43001.037: Servicers shall complete all Measure 2 forgiveness processing, to
include sending borrower notifications, within 10 business days following the opt-
out period or servicer receipt of the production file, whichever is later.

* 43001.038: The servicer shall begin processing the Measure 2 forgiveness file
immediately upon receipt and approval from FSA to begin the discharge. FSA will
provide 5 calendar day notice prior to file receipt.

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o 43001.040: The servicers shall notify each Measure 2 borrower no later than 5 days

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after forgiveness has been applied.

* 43001.041: Servicers should anticipate the notice to the borrower will be dynamic
and include borrower specific elements such as borrower identifiers/loan
identifiers, forgiveness amounts and remaining balances (and possibly others).

= 43001.042: Servicers will be provided the FSA-approved Measure 2 forgiveness
notice language/format no later than 20 calendar days prior to the servicers’
receipt of the forgiveness file.

43001.050: The servicer shall provide a response to NSLDS as defined within
requirement 43003.000.

* 43002.000: The servicers shall apply requested forgiveness to loans for Measure 3:
Borrowers Eligible for Forgiveness on the SAVE plan but Have Not Applied for the SAVE
plan (Eligible Not Applied).

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43002.010: The servicer shall receive the modified D2D file described in requirement
43001.010.

43002.020: If the servicer receives a consolidation pay-off request for a loan received in
the D2D file for Measure 3 before the file is received, the servicer should not apply the
forgiveness, but instead report to NSLDS that the loan is in process of being
consolidated.

43002.030: No forgiveness shall be applied until the opt-out period has ended.
43002.040: The forgiveness effective date will be provided in the D2D request file.
Note: The earliest effective date shall be December 31, 2023 for this measure, so
refunds of payments prior to December 31, 2023, will not be required.

43002.050: Servicers shall initiate refunds of borrower payments received following the
effective date of the loan forgiveness. Reallocation of payments will not be required for
Measure 3.

43002.060: Servicers shail complete all Measure 3 forgiveness processing, to include
sending borrower notifications, within 10 business days following the opt-out period or
servicer receipt of the production file, whichever is later.

* 43002.061: The servicer shall begin processing the Measure 3 forgiveness file
immediately upon receipt and approval from FSA to begin the discharge. FSA will
provide 5 calendar day notice prior to file receipt.

43002.070: Servicers should anticipate Measure 3 forgiveness will continue as an
ongoing process and be included in future D2D files. FSA will provide notification to
servicers upon this change.

43002.080: The servicers shall notify each Measure 3 borrower once forgiveness has
been applied.
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43002.091: Servicers should anticipate the notice to the borrower will be dynamic
and include borrower specific elements such as borrower identifiers/loan
identifiers, forgiveness amounts and remaining balances (and possibly others).
43002.092: Servicers will be provided the FSA-approved Measure 3 forgiveness
notice language/format no later than 20 calendar days prior to the servicers’
receipt of the forgiveness file.

o 43002.090: The servicer shall provide a response to NSLDS as defined within
requirement 43003.000.
¢ 43003.000: The servicer shall provide Measure 2 and 3 forgiveness response
information to NSLDS.
© 43003.010: Measure 2 and 3 response information will be sent to NSLDS via SAIG
weekly as part of NSLDS reporting. (with a new message class).
o 43003.020: The elements in the response file are (at minimum):

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Borrower SSN

Borrower Last Name

Borrower First Name

Borrower Date of Birth

Award ID

Forgiveness Measure Indicator

Forgiveness File Date

Forgiveness Action:

Forgiveness Applied

Forgiveness Not Applied, Loan Transferred to another servicer
Forgiveness Not Applied, Loan Consolidated at same servicer
Forgiveness Not Applied, Loan Consolidated to another servicer
Forgiveness Not Applied, Loan paid in full, discharged, or forgiven.
Forgiveness Not Applied, Loan is in TPD monitoring.

Forgiveness Not Applied, Loan Not Found

Forgiveness Not Applied, Borrower Opt Out

Forgiveness Not Applied, Borrower Applied for Consolidation Loan
Forgiveness Not Applied, Loan Transferred to DMCS

Forgiveness Not Applied, Loan pending discharge or forgiveness.

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© 43003.030: The five new forgiveness codes (Forgiveness Measure Indicator) shall be:

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. M14 for the forgiveness Measure 1: Current Balance Exceeds Original

Principal Balance - $20,000.

. M262 for the forgiveness Measure 1: Current Balance Exceeds Original

Principal Balance - Unlimited.

M463 as the forgiveness Measure 2: Forgiveness after 20 Years.

MSB4 as the forgiveness Measure 2: Forgiveness after 25 Years.

M3065 as the forgiveness Measure 3: Eligible for SAVE Forgiveness, Not
Applied.

* 43004.000: The servicers shall support the addition of additional forgiveness codes
within the existing NSLDS interface.

¢ 43005.000: The servicers shall support Inter System Testing (IST) for all new and
modified interface files with NSLDS.
© 43005.010: IST will test all new functionality and exchange of data with NSLDS (at a
minimum).

¢ 43006.000: The servicers shall support an Opt-out process for Measure 1, Measure 2,
and Measure 3 forgiveness borrowers.

© 43006.010: FSA will provide servicers a copy of the opt-out notification(s) prior to
sending the opt-out notice to borrowers.

o 43006.020: FSA will send the opt-out notification to borrowers and instruct them to
contact their servicer if they want to opt-out.

© 43006.030: The servicer shall note the opt-out on their system and update NSLDS
using the Online Update Function (see Requirement 12013.000).

© 43006.040: Borrowers will only have the option to opt-out on all loans. They cannot opt
out of receiving forgiveness on specific loans.

= 43006.041: Once a borrower opts out, they will not have the option to opt back in.

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43006.050: FSA will notify the servicers of the length of the opt out period prior to the
opt-out period beginning.

43006.060: The servicers shall provide FSA a daily reporting of all opt-outs per
requirement 43009.000 Reporting. FSA will compile this list of opted out borrowers and
share it with all of the servicers on no less than a weekly basis (when forgiveness files
are being processed).

¢ 43007.000: The servicers shall include updated forgiveness codes within all existing
transfer processes and procedures (sending and receiving of loans to all other federal
servicers and DMCS).

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43007.010: The servicer shall include this information in the Discharge Data
Supplemental file. The discharge type values to use in the supplemental file should
match the specific Measure Forgiveness Code (M1D4, M2B2, M4D3, M5B4, or M3D85).
43007.020: The Discharge Data Supplemental file with a previously delayed
implementation date shall be implemented with this change request at no additional cost
as it is already under contract. See Attachment 18000 Discharge Data v2.

« 43008.000: The servicers shall support twice daily operational reporting and submit the
reports NLT 11am ET and 4pm ET each day via Box.com until the initial Measures 1, 2
and 3 discharge files are complete. See SDR Operational Reporting Template for
additional details.

¢ 43009.000 The servicer shall use the FMS discharge Reason codes in the WRTOFF
transactions for each measure as described below.

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M184 for the forgiveness Measure 1: Current Balance Exceeds Original Principal
Balance - $20,000. 1133

M22 for the forgiveness Measure 1: Current Balance Exceeds Original Principal
Balance - Unlimited. 1134

M4B3 as the forgiveness Measure 2: Forgiveness after 20 Years. 1135

M54 as the forgiveness Measure 2: Forgiveness after 25 Years. 1136

M3B6 as the forgiveness Measure 3: Eligible for SAVE Forgiveness, Not Applied. 1137

¢ 43010.000 The servicer shall not process the SDR forgiveness (Measures 1, 2, or 3) on the
loan if any of the following discharges/forgiveness are actively pending on the loan:

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* Borrower Defense to Repayment — Actively pending = Any borrower in the
existing Sweet class or any borrower where an approved BD discharge request
has been received at the servicer at the time the SDR request is received.

* Forgery — Actively pending = An approved forgery discharge has been approved
at the time the SDR request is received.

" Identify Theft — Actively pending = An approved identity theft discharge has
been approved at the time the SDR request is received.

« False Certification — Actively pending = An approved false certification
discharge has been approved at the time the SDR request is received.

* Automatic Closed School — Actively pending = An automatic closed school
discharge has been approved and provided to the servicer at the time the SDR
request is received.

# Closed School - Actively pending = A closed school discharge has been
approved at the time the SDR request is received.

» Public Service Loan Forgiveness — Actively pending = A PSLF forgiveness
request has been approved and provided to the servicer at the time the SDR
request is received.

« Income Driven Repayment — Actively pending = An IDR forgiveness request
has been approved and provided to the servicer at the time the SDR request is
received.

= Total and Permanent Disability— Actively pending = An IDR forgiveness request
has been approved and provided to the servicer at the time the SDR request is
received.

* Death — Actively pending = An Death discharge request has been approved at
the time the SOR request is received.

e If any of those discharges/forgiveness are actively pending the servicer
shall return the SDR request as unprocessed.
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Artifacts:

43010.010 Servicers shall allow borrowers to request to have SDR forgiveness
reversed from a loan, within 6 months of the SDR application, if the borrower becomes
eligible for the loan to be discharged for any other type of discharge or forgiveness.

* 43010.011: The six-month limit will be upheld unless there is a court order
requiring the other discharge type be applied (for example to comply with a
settlement agreement).

* 43010.012: Anytime, within the six-month period, that the borrower is eligible for
a full discharge or forgiveness under the hierarchy above, the servicer shall
reverse the SDR discharge and apply the other full discharge or forgiveness.

43010.020 If a servicer applies a partial discharge, after a Measure 1 discharge is
applied, it shall never result in a credit balance. For example, if a borrower has a $5000
balance and receives $3000 in SDR forgiveness, leaving a $2000 balance. If the
borrower then becomes eligible for and receives a $2,500 discharge, the servicer shall
adjust the balance to $0 and the borrower would not receive a refund.

Detailed Requirements
Requirements Stage Gate
Detailed Design Document
Solution User Manual
Release Version Description Document
Data Management Documentation
Data Documentation
Technical Design Stage Gate
. Master Test Plan
10. Phase Level Test Plan
11. Test Suites (Cases)
12.User Acceptance Test (UAT) Summary Report
a. Full UAT documentation (Test Plan, Test Cases, Results)
13. Test Summary Report (System Test)
14. Defect Management Report
15. Test Readiness Review (TRR) Stage Gate
16. implementation Plan
17. Training Plan
18. Operations and Maintenance Plan
19.Production Readiness Review (PRR) Stage Gate
« Sample Operational Report
« Borrower Notification
«= Compliance Statement Post implementation

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Appendix A — Attachment Crosswalk

USDS USDS USDS Attachment Name
Requirement Series| Requirement #
18000 Servicing 18000.001 18000 EA27V¥V5 Layout
Transfers
18000.001, 18000 EA80V4 Collateral File
18001.011,
18002.011
18000.001, 18000 Cancer Deferment Supplemental File
21006.130
418000.001 18000 PAYE Supplemental File
18000.001 18000 SAVE Supplemental File
18000.001 18000 PSLF Borrower File
18000.001 18000 ICR supplemental file
18000.001 18000 Cancer Deferment
18000.001 18000 IBR anniversary for COVID
18000.001 18000 SCRA Statutory rates

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18000.001 18000 Hostile Duty _

18000.001 18000 IDR Counters

18000.001 18000 Bankruptcy Data Report With Attorney
18000.001 18000 Standing Payment tnstructions
18000,001 18000 Sending Servicer Account Number
18000.001 18000 Borrower Defense Data

18000.001 [CHANGE] 18000 Discharge Data Report v2
18000.001 18000 Plus Deferment Indicators

18000.001 18000 SULA Eligible loans

18000.001 18000 Def/Forb greater than 99 months
18000.001 18000 Defer/Forb Starting at end of Covid Forb
18000.001 18000 Address Limitation

18000.001 18000 Cease and Desist

18000.001 18000 Work in Progress

18000.001 18000 TCPA Consent

18000.001 18000 Pending Rebate Loss

18000.001 18000 Post Deferment Grace

18000.001 18000 Special Direct Consol Terms
18000.001 18000 PIF Loan Details

18000.001 18000 Borrower Special Handling

18000.001 18000 Truncated Financials

18000.001 18000 In School Deferment Opt Outs
18000.001 18000 L1 Credit

18000.001 18000 Historical Credit

18009.020 18000 EA27 TrackingLog.xisx

18000.001 18000 CRA-Batch_Interface_Specification
18000.001 18000 Last Inactive Schedule Transfers
18000.001 18000_RPS History

18000.001 Supplemental! File Tax Form 1098E
18000.001 18000 PIF Loan Transfer Payment Recd

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